                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )
                                              )
        v.                                    )   Criminal Action No.
                                              )   10-00162-06-16-CR-W-FJG
NARICCO SCOTT,                                )
and                                           )
THEODORE WIGGINS,                             )
                                              )
                   Defendants.                )

                MEMORANDUM OF MATTERS DISCUSSED AND
                 ACTION TAKEN AT PRETRIAL CONFERENCE

       Pursuant to the order of the Court en banc of the United States District Court for

the Western District of Missouri, a pretrial conference was held in the above-entitled

cause before me on February 1, 2012. Defendant Naricco Scott appeared in person and

with counsel Robin Fowler. Defendant Theodore Wiggins appeared in person and with

counsel Michael Walker. The United States of America appeared by Assistant United

States Attorneys Brent Venneman and Sydney Sanders.

I.     BACKGROUND

       On June 7, 2011, a second superseding indictment was returned charging

defendant Scott with one count of conspiracy to distribute cocaine and crack cocaine, in

violation of 21 U.S.C. § 846; two counts of distributing crack cocaine, in violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(C); one count of possession with intent to distribute crack

cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A); and one count of possessing

a firearm in furtherance of drug trafficking crimes, in violation of 18 U.S.C. § 924(c).

Defendant Wiggins is charged with one count of conspiracy to distribute cocaine and




      Case 4:10-cr-00162-FJG        Document 613       Filed 02/01/12    Page 1 of 5
crack cocaine, in violation of 21 U.S.C. § 846, and one count of distributing cocaine base,

in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

         The following matters were discussed and action taken during the pretrial

conference:

II.      TRIAL COUNSEL

         Mr. Venneman announced that he and Ms. Sanders will be the trial counsel for

the government. The case agents to be seated at counsel table are Detective Don Stanzi,

Kansas City, Missouri, Police Department, and Special Agent Scott Francis, Department

of Homeland Security.

         Mr. Fowler announced that he will be the trial counsel for defendant Naricco

Scott.

         Mr. Walker announced that he will be the trial counsel for defendant Theodore

Wiggins.

III.     OUTSTANDING MOTIONS

         The following motions remain pending:

         1.    Motion to suppress, filed by defendant Naricco Scott (document number

451). Report and Recommendation was filed on January 6, 2012 (document number

578) and objections to the Report and Recommendation were filed on January 20, 2012

(document number 594).

         2.    Motion to continue, filed by Theodore Wiggins (document number 604).

         Defendant Naricco Scott filed a motion to exclude 404(b) evidence on January

23; however, the Clerk’s office deleted the motion as improperly filed. To date it has not

been refiled but may be.

                                             2


         Case 4:10-cr-00162-FJG     Document 613        Filed 02/01/12   Page 2 of 5
IV.    TRIAL WITNESSES

       Mr. Venneman announced that the government intends to call 35 witnesses

without stipulations during the trial.

       Mr. Fowler announced that defendant Naricco Scott intends to call no witnesses

during the trial. The defendant may testify.

       Mr. Walker announced that defendant Theodore Wiggins intends to call 3

witnesses during the trial. The defendant may testify.

V.     TRIAL EXHIBITS

       Mr. Venneman announced that the government will offer approximately 150

exhibits in evidence during the trial.

       Mr. Fowler announced that defendant Naricco Scott will offer no exhibits in

evidence during the trial.

       Mr. Walker announced that defendant Theodore Wiggins will offer

approximately 10 exhibits in evidence during the trial.

VI.    DEFENSES

       Mr. Fowler announced that defendant Naricco Scott will rely on the defense of

general denial.

       Mr. Walker announced that defendant Theodore Wiggins will rely on the defense

of general denial.

VII.   POSSIBLE DISPOSITION

       Mr. Fowler stated this case may be for trial.

       Mr. Walker stated this case is definitely for trial.




                                               3


       Case 4:10-cr-00162-FJG        Document 613       Filed 02/01/12   Page 3 of 5
VIII. STIPULATIONS

       Stipulations are not likely. Both defendants have refused to enter into any

stipulations.

IX.    TRIAL TIME

       Counsel were in agreement that this case will take 5 days to try.

X.     EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

       The U. S. Magistrate Judge ordered:

       That, in addition to the requirements of the Stipulations and Orders filed October
       22, 2010, counsel for each party file and serve a list of exhibits he or she intends
       to offer in evidence at the trial of this case on the form entitled Exhibit Index and
       have all available exhibits premarked using the stickers provided by the Clerk of
       Court by or before February 1, 2012;

       That counsel for each party file and serve requested jury voir dire examination
       questions by or before noon, Wednesday, February 8, 2012;

       That counsel for each party file and serve, in accordance with the requirements of
       Local Rule 51.1, requested jury instructions1 by or before noon, Wednesday,
       February 8, 2012. Counsel are requested to provide proposed jury instructions in
       both hard copy form, as required by Local Rule 51.1, and by e-mail to the trial
       judge’s courtroom deputy.

XI.    UNUSUAL QUESTIONS OF LAW

       No motions in limine are anticipated. There are no unusual questions of law.




       1
        Counsel in all cases assigned to be tried before Chief Judge Fernando Gaitan, Jr.,
as reflected in the forthcoming trial letter, shall meet and prepare a packet of agreed
proposed jury instructions to be submitted to Judge Gaitan and e-mailed to
marylynn_shawver@mow.uscourts.gov and rhonda_enss@mow.uscourts.gov by Friday,
February 10, 2012. To the extent there are disagreements to certain instructions, each
attorney shall tab and submit his or her preference on those instructions. The
instructions shall be listed in the order they are to be given.

                                             4


      Case 4:10-cr-00162-FJG        Document 613      Filed 02/01/12       Page 4 of 5
XII. TRIAL SETTING

      All counsel and the defendants were informed that this case will be listed for trial

on the joint criminal jury trial docket which commences on February 13, 2012. (This

case has been specially set before Judge Gaitan commencing February 21, 2012).




                                                ROBERT E. LARSEN
                                                U. S. Magistrate Judge

Kansas City, Missouri
February 1, 2012

cc:   Mr. Jeff Burkholder




                                            5


      Case 4:10-cr-00162-FJG       Document 613      Filed 02/01/12    Page 5 of 5
